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 8           IN THE UNITED STATES DISTRICT COURT
 9         FOR THE CENTRAL DISTRICT OF CALIFORNIA
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11                                                    Case No. ED CV 20-2025 MRW
       MICHAEL H.,1
12                                                    JUDGMENT
                            Plaintiff,
13
                  v.
14
       KILOLO KIJAKAZI,
15     Acting Commissioner of Social
       Security,
16
                            Defendant.
17
18             It is the judgment of this Court that the decision of the
19   Administrative Law Judge is AFFIRMED. Judgment is hereby entered in
20   favor of Defendant.
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23
     Date: October 6, 2021                        ___________________________________
24                                                HON. MICHAEL R. WILNER
                                                  U.S. MAGISTRATE JUDGE
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           1       Partially redacted in compliance with Federal Rule of Civil Procedure 5.2(c)(2)(B) and
27   the recommendation of the Committee on Court Administration and Case Management of the
28   Judicial Conference of the United States.
